
Kirkpatrick, C. J.
— The justice, in this case, has sent up three different transcripts of his record, materially varying from each other, and yet each certified to be a true transcript of his docket. Upon the first, there is a manifest error.' This error is attempted to be cured in the second; but it is not completely done. Then comes a third, I believe, in the handwriting of the defendant’s attorney, different from both — and this also, is certified to be a true copy from the docket.
Upon a suggestion of diminution in the record on the return of a certiorari, and a rule thereupon on the justice to complete his return, setting forth the particular matters to be supplied, the justice may and ought to send up the papers and documents specified in such rule; or if there should have been a mistake in making out the transcript of the docket, he may, on such rule, rectify that mistake, by certifying it to the court; but he never can make out three distinct records in the same cause to meet the errors assigned *225for reversal. This would totally defeat the revision of judgments entered [*] in these courts for the trial of small causes, —nay, it would totally defeat, in them, the administration of justice : the record might be made to say any thing, and every thing; no man could be safe.
M' Donald, for plaintiff.
Boylon, for defendant.
Gentlemen without much experience in the commission, and who do not fully comprehend the nature and the sanctity of a record, might naturally enough, [175] upon rules to complete and perfect, fall into errors of this kind, without any evil intention; but what shall we say, when they are manifestly imposed upon and misled by the officers of this court! Imposed upon for the sake of perverting justice! But enough.
The first transcript certified, I think, must be taken as the true one. It is erroneous, in that the verdict is entered in figures; as well as in many other respects.
Let, therefore, the proceedings be set aside, and reversed.
Rossell and Pennington, Justices. — Concurred.
Judgment reversed.
